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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #091175
     ERIC V. KERSTEN, Bar #226429
3    MELODY M. WALCOTT, Bar #219930
     Assistant Federal Defenders
4    Designated Counsel for Service
     2300 Tulare Street, Suite 330
5    Fresno, California 93721-2226
     Telephone: (559) 487-5561
6
     Attorneys for Defendant
7    DAVID MARSHALL CRISP
8
9                                IN THE UNITED STATES DISTRICT COURT
10                             FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,             )            No. 1:11-cr-00026 LJO
                                           )
13                     Plaintiff,          )
                                           )           STIPULATION RE FILING OF QUITCLAIM
14         v.                              )           DEED BY APRIL CRISP AND ORDER
                                           )           THEREON
15   DAVID MARSHALL CRISP,                 )
                                           )
16                     Defendant.          )
     _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
19   counsel, STANLEY A. BOONE, Assistant United States Attorney, attorney for the Plaintiff, and
20   FRANCINE ZEPEDA, Assistant Federal Defender, attorney for Defendant, DAVID M. CRISP, as
21   follows:
22          1) The deed of trust and straight note was recorded on March 2, 2011, in the Kern County
23   Recorder’s Office;
24          2) A Quitclaim Deed for the property located at 1500 Pacheco Road, Space 41, Bakersfield,
25   California, 93307, shall be executed by April Crisp. This deed shall be recorded at the Kern County
26   Recorder’s Office by 4:00 p.m., on Monday, March 7, 2011. A copy of the filed Quitclaim Deed shall be
27   provided to the United States by 4:00 p.m., Tuesday, March 8, 2011; and,
28   ///
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1             3) The government will agree to the release of David Crisp on Thursday, March 3, 2011.
2
3             Dated: March 3, 2011                              BENJAMIN B. WAGNER
                                                                United States Attorney
4
5                                                               /s/ Stanley A. Boone
                                                                STANLEY A. BOONE
6                                                               Assistant United States Attorney
                                                                Attorney for Plaintiff
7
8
              Dated: March 3, 2011                              DANIEL J. BRODERICK
9                                                               FEDERAL DEFENDER
10
                                                                /s/ Francine Zepeda
11                                                              FRANCINE ZEPEDA
                                                                Assistant Federal Defender
12                                                              Attorney for Defendant
                                                                DAVID MARSHALL CRISP
13
14
                                                  ORDER
15
16
17
18                IT IS SO ORDERED.
19                Dated:       March 4, 2011                   /s/ Gary S. Austin
     6i0kij                                               UNITED STATES MAGISTRATE JUDGE
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     Stipulation Re Filing of Quitclaim
     Deed by April Crisp and Order Thereon               2
